                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

  In re: BM318,                                       §
                                                      §                  Chapter 11
  LLC,                                                §
                                                      §           Case No. 20-42789-mxm11
          Debtor.
                                                      §
                                                      §
                                                      §
  TIMOTHY BARTON,                                     §
                                                      §
          Appellant                                   §
                                                                  Civ. Act. No. 4:24-cv-863-P
                                                      §
  v.
                                                      §
                                                      §
 DIXON WATER FOUNDATION,
 LUMAR LAND & CATTLE LLC,                             §
 CORTNEY C THOMAS, RECEIVER                           §
                                                      §
          Appellees.                                  §

   APPELLANT’S MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO
                 JOINT MOTION TO DISMISS APPEAL

TO THE HONORABLE JUDGE OF SAID COURT:

   COMES NOW, Timothy Barton, Appellant in the above-referenced matter, by and through

counsel of record, and respectfully files this Motion for Extension of Time to File his Response to

Appellees’ Joint Motion to Dismiss the Appeal, and in support thereof states as follows:

            I.       COMPLIANCE WITH AI DISCLOSURE REQUIREMENT

   1. Pursuant to the Northern District of Texas Local Rules, Appellant hereby discloses that

artificial intelligence was used to assist in drafting this Motion.

                                    II.       BACKGROUND

   2. Appellees filed their Joint Motion to Dismiss Appeal on December 3, 2024. On December

4, 2024, Wyatt Alred, a judicial clerk for this Court, communicated by telephone that Appellant’s


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deadline to respond to the motion was December 24, 2024. Based on this communication,

Appellant reasonably understood that the response deadline was December 24, 2024, consistent

with guidance from the Court.

   3. Subsequently, counsel for Appellees asserted that Federal Rule of Bankruptcy Procedure

8013(a)(1)(A) establishes a seven-day deadline for responses to motions in bankruptcy appeals,

which would set the response deadline on December 10, 2024. This apparent conflict between the

guidance provided by the judicial clerk and the rule cited by opposing counsel created ambiguity.

                                III.      REQUESTED RELIEF

   4. Appellant respectfully requests that the Court grant an extension of 20 days, extending the

deadline for filing Appellant’s brief on the merits to January 13, 2025. This extension is necessary

to ensure a meaningful and substantive response.

                         IV.       GOOD CAUSE FOR EXTENSION

       1.      Appellant’s reliance on the December 24, 2024 deadline, as communicated by the

judicial clerk, was reasonable and made in good faith. Additionally, the requested extension

accounts for the practical challenges inherent in preparing a thorough response during the holiday

season, including scheduling constraints and reduced availability of support resources.

       2.      This additional time is necessary to ensure that Appellant can fully and

meaningfully address the complex legal and procedural issues raised in Appellees’ motion. The

extension is requested in good faith and not for the purpose of delay.

                  V.       CONFERENCES WITH OPPOSING COUNSEL

   5. Appellees oppose the extension request. Their position is detailed in their correspondence,

stating the requested extension would unduly delay proceedings. However, Appellant believes the

extension is justified and essential for ensuring a fair adjudication of the issues.




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                                  VI.       NO PREJUDICE

   6. Granting the extension will not unduly prejudice Appellees. The extension is requested in

good faith and not for purposes of delay.

                          VII.     CONCLUSION AND PRAYER

       For the foregoing reasons, Appellant respectfully requests that the Court:

       1. Extend the deadline to respond to the Joint Motion to Dismiss Appeal to January 13,

           2025; and

       2. Grant such other and further relief as the Court deems just and appropriate.


                                             Respectfully submitted,

                                                     FARMER & COKER, PLLC

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                                                     Tel: (214) 242-9607

                                                     COUNSEL FOR APPELLANT
                                                     TIMOTHY BARTON

                             CERTIFICATE OF CONFERENCE

    I hereby certify that on December 20, 2024, I conferred with counsel for Appellees regarding
the relief requested in this Motion. Appellees are opposed.

                                                     /s/Kaitlyn M. Coker
                                                     Kaitlyn Coker

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 20, 2024, a true and correct copy of the
foregoing document was served via email pursuant to the Court’s ECF system upon the parties listed
below.



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J. Robert Forshey on behalf of Counter-Defendant Lumar Land & Cattle, LLC
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                                                   /s/ Kaitlyn M. Coker
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